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                  9    Attorneys for Tecumseh–Infinity Medical
                       Receivable Fund, LP
                10
                                         IN THE UNITED STATES BANKRUPTCY COURT
                11                             FOR THE DISTRICT OF NEVADA
                12     In re:
                13     INFINITY CAPITAL MANAGEMENT,                Case No.: 21-14486-abl
                       INC.,
                14                                                 Chapter 7
                                            Debtor.
                15

                16     HASELECT-MEDICAL RECEIVABLES
                       LITIGATION FINANCE FUND
                17     INTERNATIONAL SP,                           Adversary Case No.: 21-01167-abl
                18                          Plaintiff,
                19     v.
                                                                     SUPPLEMENTAL STATEMENT OF
                20     TECUMSEH–INFINITY MEDICAL                    UNDISPUTED FACTS IN SUPPORT OF
                       RECEIVABLES FUND, LP,                          TECUMSEH–INFINITY MEDICAL
                21                          Defendant.              RECEIVABLE FUND, LP MOTION FOR
                                                                    PARTIAL SUMMARY JUDGMENT AS
                22     TECUMSEH–INFINITY MEDICAL                         TO DIRECT PURCHASE
                       RECEIVABLES FUND, LP,                                 RECEIVABLES
                23
                                            Counter-Claimant,
                24     v.                                          Hearing Date: October 25, 2022
                25     HASELECT-MEDICAL RECEIVABLES                Hearing Time: 1:30 p.m.
                       LITIGATION FINANCE FUND
                26
                       INTERNATIONAL SP,
                27                          Counter-Defendant.
                28
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                  1     HASELECT-MEDICAL RECEIVABLES
                        LITIGATION FINANCE FUND
                  2     INTERNATIONAL SP,
                  3                          Counter-Claimant,
                  4     v.
                        TECUMSEH–INFINITY MEDICAL
                  5
                        RECEIVABLES FUND, LP,
                  6                          Counter-Defendant.
                  7

                  8           Pursuant to LR 7056, Defendant and Counterclaimant Tecumseh–Infinity Medical
                  9    Receivable Fund, LP (“Tecumseh”) respectfully submits the following supplemental statement
                10     of undisputed facts in support of its Reply in Support of Motion for Partial Summary Judgment
                11     as to Direct Purchase Receivables (the “Reply”).
                12                    TECUMSEH’S UNDISPUTED                     HASELECT’S
                                       FACTS AND SUPPORTING                    RESPONSE AND
                13                           EVIDENCE                       SUPPORTING EVIDENCE
                14
                                    On June 6, 2020, HASelect and
                15                  Griffin Asset Management, LLC
                                    (“GAM”) filed a complaint (the
                16                  “Meyer Complaint”) in the Circuit
                                    Court of Cook County, Illinois,
                17                  County Department, Chancery
                18                  Division against Tecumseh, its
                                    principal,   Chadwick     Meyer,
                19                  Alternative Investment Specialists
                                    Limited and FTM Limited (the
                20                  “Meyer Action”).
                21
                                    See Opposition [ECF No. 122], Ex.
                22                  5 (Meyer Complaint)

                23                  In the Meyer Complaint, HASelect
                                    asserted claims against Tecumseh
                24                  (and the other defendants) arising
                                    from Tecumseh’s business dealings
                25
                                    with the Debtor.
                26
                                    See Meyer Complaint, ¶ ¶ 92, 95-96
                27

                28
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                  1              The Meyer Complaint contains
                                 allegations that: (i) HASelect and
                  2              GAM        owned and possessed
                                 confidential, proprietary, and trade
                  3
                                 secret information; and (ii)
                  4              Tecumseh, Meyer, and FTM
                                 misappropriated the confidential,
                  5              proprietary and trade secret
                                 information and used it to try to
                  6              usurp Plaintiffs’ existing and future
                                 business;      and       (iii)    the
                  7
                                 misappropriation of HASelect’s
                  8              confidential, proprietary, and trade
                                 secret information by HASelect
                  9              was intentional, knowing, willful,
                                 malicious, and fraudulent.
                10

                11               See Meyer Complaint, ¶ ¶ 92, 95-96

                12               On August 12, 2022, HASelect and
                                 GAM filed a complaint (the “Clark
                13               Complaint”) in the United States
                                 District Court for the Northern
                14               District of Illinois against Simon
                15               Clark, another of Tecumseh’s
                                 principals (the “Clark Action”).
                16
                                 See Opposition, Ex. 14. (Clark
                17               Complaint)
                18
                                 The Clark Action arises from
                19               HASelect’s grievances with Clark
                                 concerning Tecumseh’s formation
                20               and business dealings with the
                                 Debtor.
                21
                                 See Clark Complaint
                22

                23               Through the Meyer Complaint,
                                 HASelect   sought to    enjoin
                24               Tecumseh     from  conducting
                                 business with the Debtor and
                25               damages.
                26
                                 See Meyer Complaint, pp. 19-20.
                27

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                  1              In furtherance of that goal,
                                 HASelect sought a preliminary
                  2              injunction   against   Tecumseh,
                                 Meyer, and FTM in the Meyer
                  3
                                 Action to “enjoin Defendants from
                  4              doing business with nonparty
                                 [Infinity].”
                  5
                                 See Exhibit J (Court Order Denying
                  6              Injunctive Relief)
                  7
                                 After a two-day hearing in which
                  8              testimony was taken, various
                                 documents were admitted into
                  9              evidence, and having heard the
                                 arguments of counsel, the Meyer
                10               Action court denied HASelect’s
                                 motion for preliminary injunction
                11
                                 in its Order dated February 17,
                12               2021.

                13               See Exhibit J (Court Order Denying
                                 Injunctive Relief)
                14

                15               The Meyer Action court issued the
                                 following findings in its February
                16               17, 2021 Order:

                17                  Defendant Meyer worked for
                                     GAM       until    May     2019.
                18                   Subsequently, Meyer formed
                19                   [Tecumseh]       to     purchase
                                     medical       receivables     in
                20                   connection with personal injury
                                     cases. [Tecumseh] and Infinity
                21                   entered into a sub-advisory
                                     agreement under which Infinity
                22
                                     provides portfolio management
                23                   and administrative services,
                                     including negotiating the price
                24                   of receivables. [Tecumseh]
                                     purchases receivables for itself
                25                   and secures a lien on proceeds
                                     from the receivable…
                26

                27                  As to the interference claim
                                     related to Infinity, it seems that
                28
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                  1                 the Defendants structured
                                    [Tecumseh]        to      avoid
                  2                 interfering with Infinity’s pre-
                                    existing            contractual
                  3
                                    obligations with [HASelect].
                  4                 Significantly,           unlike
                                    [HASelect]     which      loans
                  5                 money to Infinity to purchase
                                    the    medical      receivables,
                  6                 [Tecumseh] is not a lender.
                  7
                                 See Exhibit J at 2-3 (emphasis
                  8              added).

                  9              HASelect subsequently dismissed
                                 the Meyer Action without appeal.
                10

                11               See Exhibit K (docket for the
                                 Meyer Action)
                12
                                 HASelect filed its Complaint in this
                13               Adversary Proceeding on October
                                 19, 2021, and its Amended First
                14
                                 Amended Complaint (“AFAC”)
                15               [ECF No. 24] in this Adversary
                                 Proceeding, the presently operative
                16               Complaint, on December 13, 2021.
                                 Like the Meyer Complaint, the
                17               AFAC includes claims against
                                 Tecumseh for declaratory relief,
                18
                                 injunctive relief, and damages
                19               arising from Tecumseh’s business
                                 dealings with the Debtor.
                20
                                 See ECF Nos. 1 and 24
                21
                                 The purpose of the Sub-Advisory
                22
                                 Agreement was to facilitate a sale
                23               of the receivables directly between
                                 the medical service providers and
                24               Tecumseh.
                25               See Exhibit L [Hemmer Dep. Vol.
                26               II at 185:15-20].

                27               The Debtor was not to acquire an
                                 interest in the receivables or to be
                28
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                  1              part of the chain of title.

                  2              See Exhibit L, Hemmer Dep. Vol.
                                 II at 186:3-8.
                  3

                  4              Tecumseh tied each purchase of a
                                 Direct Purchase Receivable to a
                  5              check or wire transfer from
                                 Tecumseh’s BofA Account payable
                  6              to the selling medical service
                  7              provider.

                  8              See Reconciliation, attached as
                                 Exhibit F to Tecumseh’s Statement
                  9              of Undisputed Facts [ECF No. 92];
                                 Declaration of Michael Belotz
                10               (“Belotz Decl.”) [ECF No. 91] at ¶¶
                11               15-18.

                12               Tecumseh owned the BofA account
                                 and all of the funds within it.
                13
                                 See Composite Exhibit G; Exhibit
                14
                                 J, Exhibit L [Hemmer Dep. Vol. II
                15               at 188:25-189:15, Hemmer Dep.
                                 Vol. II. at 189:13-14] and Exhibit
                16               N; see also Belotz Decl. at ¶ 11;

                17               The BofA Account was titled in the
                                 name    of     “Tecumseh-Infinity
                18
                                 Medical Receivables Fund, LP,”
                19               Tecumseh’s legal name.

                20               See Composite Exhibit G; Exhibit
                                 J, and Exhibit N.
                21

                22               Funds in the BofA account came
                                 from Tecumseh’s investors.
                23
                                 See Exhibit N; see also Belotz
                24               Decl. at ¶ 11 and Belotz Supp.
                                 Decl. at ¶¶ 9, 12-13.
                25

                26               The Debtor did not include the
                                 BofA Account on its Schedules.
                27
                                 See   Debtor’s     Schedules   [Main
                28
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                  1              Case, ECF No. 47].

                  2              The Debtor’s assumed name was
                                 associated with the BofA Account
                  3
                                 only to allow checks to be
                  4              deposited in the account.

                  5              See Exhibit L [Hemmer Dep. Vol.
                                 II at 212:4-23, 215:18-21]; Belotz
                  6              Supp. Decl. at ¶ 8.
                  7              Debtor’s principals signed checks
                                 as agents of Tecumseh and were
                  8              allowed to do so only for
                                 Tecumseh’s business.
                  9
                                 See Exhibit L [Hemmer Dep. Vol.
                10               II at 215:22-216:6]
                11
                                 Debtor’s signatures had to be
                12               countersigned by a representative
                                 of Tecumseh.       Therefore, the
                13               checks drawn on the BofA Account
                                 show the signatures of both
                14
                                 Tecumseh and Debtor’s principals.
                15
                                 See Composite Exhibit G, Exhibit
                16               L [Hemmer Dep. Vol. II at 215:18-
                                 216:11]; see also Belotz Decl. at ¶
                17               11;
                18
                                 A     proper    tracing    analysis
                19               demonstrates that Tecumseh’s
                                 funds were used to purchase the
                20               Direct Purchase Receivables.
                21               See Exhibit O (Tracing Analysis);
                                 see also Belotz Supp. Decl. at ¶ 11.
                22

                23               Tecumseh deposited $3.7 million of
                                 its investor’s money into the BofA
                24               Account.

                25               See Exhibit O; see also Belotz
                                 Supp. Decl. at ¶ 12.
                26

                27               Tecumseh paid $3.2 million out of
                                 the BofA Account to purchase the
                28               Direct Purchase Receivables.
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                  1
                                 See Exhibit F (Reconciliation)
                  2
                                 From July 2020 through September
                  3
                                 2021,     cumulative     Tecumseh
                  4              Deposits     were    higher    than
                                 cumulative Provider Payments in
                  5              each month. Thus, there were more
                                 than sufficient funds deposited by
                  6              Tecumseh      to    purchase    the
                  7              receivables.

                  8              See Belotz Supp. Decl. at ¶ 18

                  9              Proceeds of receivables purchased
                                 by Tecumseh were deposited into
                10               the BofA Account but they
                11               represented a relatively minor part
                                 of the total funds (approximately
                12               15%) in the account. Deposits
                                 related to receivables totaled
                13               $696,747.
                14
                                 See Belotz Supp. Decl. at ¶ 14.
                15
                                 Tecumseh     paid    the  Debtor
                16               $723,073 out of the BofA Account
                                 in     fees      and     expense
                17               reimbursements.
                18
                                 See Belotz Supp. Decl. at ¶ 17.
                19
                                 Tecumseh distributed $55,580.80 to
                20               the Debtor in October 2020 (Check
                                 1001, dated 9/30/2020 cleared
                21               10/1/2020) to enable the Debtor to
                22               purchase the Batch 1-G receivables,
                                 which are part of the Disputed
                23               Receivables, on Tecumseh’s behalf.

                24               See Belotz Supp. Decl. at ¶ 18.
                25               Two of the three purchase and sale
                26               agreements    relied   upon    by
                                 HASelect and entered by and
                27               between the Debtor and the medical
                                 providers expressly contemplated
                28
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                  1               future sales of accounts receivables.

                  2               See Opposition, Exhibits 28 and 33,
                                  ¶ 3.
                  3

                  4         Dated this 24th day of October 2022.
                                                                   Respectfully submitted,
                  5
                                                                   GARMAN TURNER GORDON LLP
                  6

                  7                                                By: /s/
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                                                                   Receivable Fund, LP
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